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Unidentified Male (00:00):
Hello?

James Garretson (00:20):
Are you sad your boyfriend's going away for a long time?

Unidentified Male (00:22):
Huh?

James Garretson (00:24):
Are you sad your boyfriend's going away for a long time?

Unidentified Male (00:28):
Yeah, I see that. They found him guilty on all of them?

James Garretson (00:31):
Yeah, every one of them.

Unidentified Male (00:34):
Now what is that, guilty on which charges? On the murder for hire, what else?

James Garretson (00:42):
18 trafficking charges.

Unidentified Male (00:45):
18 trafficking charges. Unreal. Damn.

James Garretson (00:51):
Yeah. I told you he was going to get fucking [crosstalk 00:00:54].

Unidentified Male (00:53):
It's turning out that his buddy that stuck up for him, how'd it end up in the end? You weren't his buddy
no more, were you?

James Garretson (01:04):
He shouldn't have double-crossed me.

Unidentified Male (01:07):
Huh?

James Garretson (01:08):
He shouldn't have double-crossed me.



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Unidentified Male (01:11):
Yeah. Unreal. Now they've got to come back for sentencing?

James Garretson (01:19):
Yeah, he'll do life.

Unidentified Male (01:21):
No way. You think so?

James Garretson (01:23):
Yeah, I know so. The two murder for hires are a minimum 10 years apiece.

Unidentified Male (01:28):
The what is?

James Garretson (01:29):
The murder for hires are a minimum 10 years apiece.

Unidentified Male (01:34):
Really?

James Garretson (01:35):
And then you got ... Well, no. You got 17 trafficking, that's five years apiece, so even if he gets 20 years,
he's still going to do life because he's fucking queer.

Unidentified Male (01:47):
Right.

James Garretson (01:49):
His butt hole's probably going to get blown out in there and all that shit.

Unidentified Male (01:53):
Do what?

James Garretson (01:54):
His butt hole's going to get blown apart-

Unidentified Male (01:56):
Let me pull up or some. Hold on, I'm right here in front of the barn. Hold on. Let me pull up. The damn
dogs are barking because I'm sitting right here. Fuckers. They see me, and they got to bark. Okay, I'm
done. Go ahead.

James Garretson (02:09):


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I'm sure he's going to get a lot of penis in there.

Unidentified Male (02:12):
Yeah, that's for sure. Yeah.

James Garretson (02:16):
You can't be killing animals and shooting them in the fucking head, that's just sorry.

Unidentified Male (02:21):
Well, that's for sure.

James Garretson (02:23):
Now Lowe needs to go, and Antle needs to go, and Woody.

Unidentified Male (02:27):
And who? Woody?

James Garretson (02:29):
Yep.

Unidentified Male (02:29):
Where's Woody at?

James Garretson (02:31):
In Illinois. He's the biggest animal killer out there.

Unidentified Male (02:35):
Really?

James Garretson (02:36):
Yep, the biggest one.

Unidentified Male (02:37):
Why, what's he do?

James Garretson (02:40):
Skins everything, sells parts. Yeah, he's a fucking piece of shit.

Unidentified Male (02:44):
Really?

James Garretson (02:44):
Yep. What's going on there in Queerland today? Did you get that building bought?

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Unidentified Male (02:53):
Not yet.

James Garretson (02:54):
Goddamn.

Unidentified Male (02:57):
I can't get him to do it. He says he's broke right now. Sounds like somebody else I know.

James Garretson (03:03):
He ain't broke. Well, I am broke. You look at my bank account, I am fucking broke right now.

Unidentified Male (03:09):
Unreal. Where you at? You still out there, or are you here?

James Garretson (03:15):
I'm going to head to Florida maybe today or tomorrow. Yeah.

Unidentified Male (03:22):
Yeah?

James Garretson (03:23):
You don't think he's going to buy it?

Unidentified Male (03:23):
Don't forget my rubber ball guns.

James Garretson (03:27):
Goddamn you, you and your rubber ball guns.

Unidentified Male (03:30):
I know you, you'll forget. Your mind's like a leaky sieve.

James Garretson (03:35):
I'm busy, forget.

Unidentified Male (03:37):
Huh?

James Garretson (03:38):
I'm busy, I forget.

Unidentified Male (03:39):

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Are you going to stay out there in Oklahoma, or are you still moving?

James Garretson (03:43):
I don't know what I'm doing. I have no clue.

Unidentified Male (03:54):
Hey, there's no baby cougars out there. There's no young cougars out there that you know of, is there?

James Garretson (03:59):
There was one a few days ago. I mean, a few weeks ago, and he sold it for 6,500 bucks.

Unidentified Male (04:07):
No fucking way.

James Garretson (04:09):
Yep, a female. It was six weeks old.

Unidentified Male (04:14):
Yep.

James Garretson (04:15):
Can you believe that?

Unidentified Male (04:18):
Hold on one second. Hold on again, meatball. Hold on.

Unidentified Male (04:21):
What's it doing?

Speaker 3 (04:25):
[inaudible 00:04:25].

Unidentified Male (04:26):
I hear the noise.

Speaker 3 (04:29):
Yeah. I think it's that [inaudible 00:04:29].

Unidentified Male (04:29):
Probably the idler pulley.

Speaker 3 (04:39):
Tell me, what's that do?

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Unidentified Male (04:39):
It's the idler pulley. It's the idler pulley.

Speaker 3 (04:39):
That one?

Unidentified Male (04:41):
Yeah, it's either the tensioner pulley or idler pulley. It's either the tensioner pulley or the idler pulley.
You might have to get both because usually if one goes bad the other one goes bad.

Speaker 3 (04:49):
Okay. Main Jeep. [inaudible 00:04:50].

Unidentified Male (04:50):
I hear Smear. When it goes out it's going to fall off and mess everything up.

Speaker 3 (05:03):
[inaudible 00:05:03].

Unidentified Male (05:03):
I can hear it from here.

Speaker 3 (05:08):
It's one of the four.

Unidentified Male (05:08):
It's hard to tell because it's-

Speaker 3 (05:09):
I can tell you which ones it is, you can sit there and look at it rattle.

Unidentified Male (05:11):
You can see it rattle?

Speaker 3 (05:13):
Yeah.

Unidentified Male (05:13):
Just go by the auto parts store and take the part in and say I need that one. That's what you got to do.
I'd go to Discount or, I mean Advanced or a O'Reilly.

Speaker 3 (05:23):
Yeah, [inaudible 00:05:24] O'Reilly.

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Unidentified Male (05:23):
Yeah, just go to O'Reilly's then. All right, I'm back.

James Garretson (05:27):
He's still working on your goddam shit, broken down shit?

Unidentified Male (05:29):
Huh?

James Garretson (05:33):
Is all your shit broken still?

Unidentified Male (05:34):
No. Not mine. Well, yeah, I still got a bunch of shit down. I'm working on it all, but half of it's running,
half of it's down. I only got one down right now, and it just needs some hoses. I'm waiting for the hoses
to come in. My other tractor, it's done. It's back up, it's at the shop, I got to pick it up. It was that damn
fuel crap they put on them now. It's fucked up.

James Garretson (05:58):
Is your Trackhoe working?

Unidentified Male (06:01):
Yeah.

James Garretson (06:05):
Yeah. I don't know what the fuck to do. Yeah, but that cougar got 6500 bucks, man.

Unidentified Male (06:12):
Goddamn.

James Garretson (06:14):
Yeah. It's insane-

Unidentified Male (06:15):
Didn't you say you used to give them away or you could buy them 2500 all day long.

James Garretson (06:18):
I could buy a fucking whole litter for two grand a few years back.

Unidentified Male (06:25):
Damn. Nobody's going out there from what I understand. Nobody's asking me, and nobody has any
breeding stock left.



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James Garretson (06:35):
No. Not really. I got some tiger babies due this month.

Unidentified Male (06:39):
Are they out of your batch?

James Garretson (06:42):
Yeah. I bred those two snows I have and I got probably have three or four cubs this month, but I'm going
to hang on to them fuckers because nobody has any. Yeah.

Unidentified Male (06:57):
Right. You ought to send them down to me so I can play with them, then you can have them back.

James Garretson (07:03):
If she has a big litter, I only need two of them.

Unidentified Male (07:07):
Yeah.

James Garretson (07:08):
Yeah. Fuck, nobody's going to breed or anything, everybody's stuck and staying clear all of this shit.

Unidentified Male (07:13):
Yeah, that's for sure.

James Garretson (07:15):
All the people that are breeding, if they're a part of that case, they're fucking scared.

Unidentified Male (07:22):
Right. Right. Right.

James Garretson (07:23):
Fuck, Robbie Engesser's went and got rid of all his animals and fucking got out of that shit when he
started getting investigated.

Unidentified Male (07:30):
Really? Which one was he?

James Garretson (07:31):
Yeah. The guy down in Chiefland.

Unidentified Male (07:34):
In where?

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James Garretson (07:35):
Chiefland, Florida.

Unidentified Male (07:37):
Where? Florida or where?

James Garretson (07:39):
Yeah. Robby Ingrester.

Unidentified Male (07:41):
Huh?

James Garretson (07:42):
Robbie Engesser. You know him.

Unidentified Male (07:45):
Oh right, I heard he got rid of all his stuff. Why? He was in on that deal too?

James Garretson (07:49):
Yeah. He bought cats from Joe and then he came clean, but they don't know if all them people are going
to get prosecuted next because this whole case opened up everybody.

Unidentified Male (08:02):
Right. Right.

James Garretson (08:05):
Everybody that bought a cat from Joe, who knows if they're going to come back and charge everybody.

Unidentified Male (08:13):
Man. What are they going to charge them with?

James Garretson (08:18):
Fucking buying an endangered specie across state lines. Falsified paperwork. Just writing donation on
there when they knew they'd give them money is a fucking felony.

Unidentified Male (08:29):
Right.

James Garretson (08:31):
That's the problem is when they mark donated.

Unidentified Male (08:36):
Unreal.

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James Garretson (08:36):
I'd never write donated on another form ever, even if it was donated.

Unidentified Male (08:47):
What did Joe say when they convicted him?

James Garretson (08:48):
I donate them. You know Joe and his old Joe bullshit.

Unidentified Male (08:57):
Yeah.

James Garretson (08:57):
I'm sure he saw it. Think about it, he's never going to see daylight again.

Unidentified Male (09:03):
Yeah.

James Garretson (09:05):
Life in prison, but he was a two-faced cocksucker. Stabbed everybody in the fucking back.

Unidentified Male (09:12):
Right.

James Garretson (09:15):
Fuck him. Fuck him.

Unidentified Male (09:19):
What else is going on? Anything good?

James Garretson (09:22):
No. Not really. I need some money. I need a fucking one hit wonder and be done. Tired of just making
daily money, I want to make a fucking big chunk of money and be done.

Unidentified Male (09:37):
You got to invent something. You got to make something, then blow it up and sell it.

James Garretson (09:41):
Yeah.

Unidentified Male (09:41):
I'm serious, though. Once you got paid you just got to come up with an idea that you can blow it up and
sell it overnight.

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James Garretson (09:51):
Yeah. That'd be something. I'm tired of fucking working every day, busting my ass, pay insurance and
shit. But you see Carole Baskin, already using this shit to fucking gain money.

Unidentified Male (10:07):
Really? Why, what's she doing?

James Garretson (10:09):
Yeah. She was putting her videos ... She's just a stupid bitch. They need to fucking just carry her off.

Unidentified Male (10:16):
Unreal.

James Garretson (10:18):
Supposedly there's a tape out there, and I know the guy that says he has it, and he's a real reputable
guy, but he has a tape of Baskin talking to her ex-boyfriend about killing Don.

Unidentified Male (10:33):
Really?

James Garretson (10:34):
The guy that has it is real reputable, and he says he has it, and he's supposed to play it for me, but I
haven't heard it yet, but yeah. I don't know if that's the truth or not, but yeah. That bitch is just a
hypocrite. Goddamn, she's a hypocrite.

Unidentified Male (10:51):
That was for sure.

James Garretson (10:55):
All right. Let me get some shit done here. I'll let you know when I'm heading down.

Unidentified Male (11:01):
All right. Give me a holler and let me know.

James Garretson (11:02):
All right.




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